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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Jesse Ackles
                                Plaintiff,
v.                                                  Case No.: 1:19−cv−08175
                                                    Honorable John Robert Blakey
H & R Accounts, Inc.
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 17, 2020:


        MINUTE entry before the Honorable John Robert Blakey: Based upon the filing
of the stipulation of dismissal [28], this case is dismissed with prejudice. Civil case
terminated. Mailed notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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